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FILED

IN THE UNITED STATES DISTRICT COURT JUN 2.0 2016

FOR THE WESTERN DISTRICT OF PENNSYLVANIA _..
CLERK U.S. DISTRICT COURT

WEST. DIST. ©
UNITED STATES OF AMERICA F PENNSYLVANIA

)

Vv. Criminal No. lwirAn
)
)

ABIGALE LEE MILLER

INFORMATION MEMORANDUM

AND NOW comes the United States of America, by its
attorneys, David J. Hickton, United States Attorney for the
| Western District of Pennsylvania, and Gregory C. Melucci,
Assistant United States Attorney for said District, and submits
this Information Memorandum to the Court:

I. THE INFORMATION

The United States Attorney has filed an Information
against the above-named defendant for alleged violations of
federal law:

COUNT OFFENSE/DATE TITLE / SECTION

1 Structuring International Monetary 31 U.S.C. §§ 5324(c) (1)
Instrument Transactions and 5316 (a) (1) (B)

On or about August 7, 2014

II. ELEMENTS OF THE OFFENSE

A. As to Count 1:

In order for the crime of Structuring International
Monetary Instrument Transactions, in violation of Title 31
U.S.C. §§ 5324(¢) (1) and 5316(a)(1)(B), to be established, the

government must prove each of the following elements beyond a

reasonable doubt:

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1. First, that the defendant did knowingly
transport or was about to transport more than $10,000.00 from a
place outside the United States into the United States;

2. Second, that the defendant had knowledge of the
reporting requirements; and

3, Third, that the defendant intended to evade the
currency reporting requirements.

Authority: United States v. Israel Del Toro-
Barboza, 673 F.3d 136 (9° Cir. 2012)

TII. PENALTIES
A. As to Count 1: Structuring International
Monetary Instrument Transactions (31 U.S.C. §§ 5324(c)(1) and
5316 (a) (1) (B)):

1. Individuals - The maximum penalties for

individuals are:
(a) imprisonment of not more than 5 years (Title
18 U.S.C. § 5324(c));
(b) a fine not more than the greater of;
(1) $250,000, Title 18 U.S.C. §3623 (a) (3)
or
(2) an alternative fine in an amount not
more than the greater of twice the gross pecuniary gain to any

person or twice the pecuniary loss to any person other than the

defendant, unless the imposition of this alternative fine would
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unduly complicate or prolong the sentencing process. Title 18
U.S.C. §3623{(c) (1).

(c) a term of supervised release of not more
than three years. Title 18 U.S.C. §3583.

(ad) Any or all of the above.

IV. MANDATORY SPECIAL ASSESSMENT

A mandatory special assessment of $100.00 must be
imposed at count one upon which the defendant is convicted,
pursuant to 18 U.S.C. § 39013.

V. RESTITUTION

Not applicable.

VI. FORFEITURE

As set forth in the Information.

Respectfully submitted,

DAVID J, HICKTON
States Attorney

By:
C. MELUCCI
Assistant U.S. Attorney
PA ID No. 56777

